Case 2:19-cv-10074-CAS-RAO Document 1-1 Filed 11/25/19 Page 1 of 3 Page ID #:36




                      EXHIBIT A
Case 2:19-cv-10074-CAS-RAO Document 1-1 Filed 11/25/19 Page 2 of 3 Page ID #:37

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                 This Certific_; te issued under the seal of the Copyright ,
           J.· OffiEe-in accordanc~ with title 17', United States Code, -
                  attests that regist~;tion h~ be;n ~ade for_the-work . ,-,
              - r identified below. The information     o-n thh certificate has , ·_            '                   '
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Case 2:19-cv-10074-CAS-RAO Document 1-1 Filed 11/25/19 Page 3 of 3 Page ID #:38




                                  EXHIBIT A
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